          Case 2:19-cr-00215-APG-BNW Document 48 Filed 10/02/20 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 UNITED STATES OF AMERICA,                              Case No.: 2:19-cr-00215-APG-BNW

 4          Plaintiff                                   Order Accepting Magistrate Judge’s
                                                      Report and Recommendation on Motion to
 5 v.                                                                Suppress

 6 ENRIQUE GALINDO,                                                 [ECF Nos. 22, 42]

 7          Defendant

 8         Defendant Enrique Galindo filed a motion to suppress the firearm that police officers seized

 9 from him. ECF No. 22. After conducting an evidentiary hearing, Magistrate Judge Weksler

10 recommended that the motion to suppress be denied. ECF No. 42. Mr. Galindo filed an objection

11 to that recommendation and the Government responded by referring to its earlier opposition to the

12 motion. I have conducted a de novo review of the motion to suppress and related papers as required

13 by Local Rule IB 3-2(b). Judge Weksler’s Report and Recommendation sets forth the proper legal

14 analyses and factual bases for the decision, and I adopt it as my own.

15         I HEREBY ORDER that Magistrate Judge Weksler’s Report and Recommendation (ECF

16 No. 42) is accepted. Mr. Galindo’s motion to suppress (ECF No. 22) is denied.

17         Dated: October 2, 2020.

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                                                         ANDREW P. GORDON
19                                                       UNITED STATES DISTRICT JUDGE

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